                    IN THE UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

LYNN HARWELL ANDREWS, AS                     )
TRUSTEE FOR THE ESTATE OF
THOMAS JACKSON MADDOX                        )
AND JOYCE WILKINS MADDOX,
                                             )
       Plaintiff,
                                             )     CASE NO.: 09-10939
V.
                               )                   ADVERSARY NO: 11-00002
MICHEL BENAMAR, a/k/a MICHAEL
BENAMA, and CURTIS C. GRISWOLD, )
Jointly and Individually,
                               )
       Defendants.

                                MOTION TO WITHDRAW

       Comes now Michael S. McNair, Attorney for Defendant, Michel Benamar, and moves this

Honorable Court to allow him to withdraw as counsel for the Defendant in this matter, and would

show unto this Honorable Court as follows:

       Counsel has repeatedly tried to contact Defendant and has been unsuccessful in

communicating with the Defendant by letter and telephone.

       WHEREFORE, PREMISES CONSIDERED, Counsel ask that this withdraw be granted.

                                                   Respectfully submitted,



                                                    /s/ Michael S. McNair
                                                   MICHAEL S. McNAIR




  Case 11-00002      Doc 21    Filed 06/02/11 Entered 06/02/11 09:09:56          Desc Main
                                 Document     Page 1 of 2
M. S. McNair, Attorney at Law, P.C.
2151 Government Street
Mobile, AL 36606
251-450-0111
251-450-0822-Facsimile
msm@mcnair.com



                                    CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that on this the 2nd day of June 2011, I caused a copy
of the foregoing pleading to be served via the ECF Filing System, upon the following:

       Gregory B. McAtee
       P. O. Box 91717
       Mobile, AL 36691-1717

       Michel Benamar
       1000 N Green Valley Parkway
       Henderson, NV 89072
                                                      /s/ Michael S. McNair
                                                     Michael S. McNair




  Case 11-00002       Doc 21     Filed 06/02/11 Entered 06/02/11 09:09:56            Desc Main
                                   Document     Page 2 of 2
